 Case: 1:18-cv-00111-WOB-KLL Doc #: 3 Filed: 04/06/18 Page: 1 of 2 PAGEID #: 55



                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

CIVIL ACTION NO. 1:18-cv-111(WOB-KLL)

KIMBERLY KHAMISI                                       PETITIONER

VS.                                JUDGMENT

STATE OF OHIO, ET AL                                   RESPONDENTS

      This   matter    is   before     the    Court   on    the   Report    and

Recommendation of the United States Magistrate Judge (Doc. 2),

and no objections having been filed thereto, and the Court being

sufficiently advised,

      IT IS ORDERED that the Report and Recommendation of the

Magistrate Judge (Doc. 2) be, and it hereby is, adopted as the

findings of fact and conclusions of law of this Court;

petitioner’s Petition for a Writ of Habeas Corpus pursuant to 28

U.S.C. § 2254 (Doc. 1), is DISMISSED WITHOUT PREJUDICE to

refiling after petitioner has exhausted all available state

court remedies. A certificate of appealability shall not issue

with respect to the claims alleged in the petition. Pursuant to

28 U.S.C. § 1915(a)(3), any application by petitioner to proceed

on appeal in forma pauperis would be not be taken in “good

faith.”
Case: 1:18-cv-00111-WOB-KLL Doc #: 3 Filed: 04/06/18 Page: 2 of 2 PAGEID #: 56



    This 6th day of April, 2018.
